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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF COLORADO

In re: Judith Jean Schneider,                    )
                                                 ) Case No. 17-11810-MER
        Debtor.                                  )
                                                 ) Chapter 13
                                                 )

   NOTICE OF FILING AMENDED CHAPTER 13 PLAN, DEADLINE FOR FILING
             OBJECTIONS, AND HEARING ON CONFIRMATION

                         OBJECTION DEADLINE: AUGUST 23, 2017.
        YOU ARE HEREBY NOTIFIED that the debtor filed an amended Chapter 13 Plan on July 24,
2017, docket number 49. A copy of the Amended Chapter 13 Plan is attached.
        A non-evidentiary hearing on confirmation has been set for September 18, 2017 at 1:30 p.m. at
the U.S. Custom House, 721 19th Street, Courtroom C, Denver, Colorado 80202. Absent the entry of the
order confirming the plan or rescheduling the hearing, Debtor's counsel is required to appear at the
confirmation hearing. If a telephonic appearance is allowed, the docket posted on the Court's website will
include the call-in information.

        If you wish to oppose confirmation of the amended chapter 13 plan you must file with the court a
written objection and request for a hearing on or before the objection deadline stated above, and serve a
copy thereof on the undersigned attorney. Pursuant to L.B.R. 3015-1, objections must clearly specify the
grounds upon which they are based, including the citation of supporting legal authority, if any. General
objections will not be considered by the court.
       Unless otherwise ordered, previously filed objections to any prior chapter 13 plan are deemed
moot and new objections must be timely filed addressing this amended plan.

        If no objections are filed, the amended plan may be confirmed without a hearing, upon the
debtor’s filing of a Verification of Confirmable Plan pursuant to L.B.R. 3015-1.

Dated: July 24, 2017
                                                 Respectfully submitted,

                                                 WATTON LAW GROUP


                                                 _/s/ Michael J. Watton
                                                 Michael J. Watton, Esq., No. 46893
                                                 700 North Water Street, Suite 500
                                                 Milwaukee, WI 53202
                                                 Telephone: 720-590-4600
                                                 Fax: 303-295-0242
                                                 Email: wlgdnvr@wattongroup.com
                                                        mwatton@wattongroup.com
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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the Amended Chapter 13 Plan
dated July 24, 2017, docket no. 49, and the Notice of Filing Amended Chapter 13 Plan, Deadline
for Filing Objections Thereto, and Hearing on Confirmation were served by placing the same in
the United States Mail, first class postage pre-paid, (or via electronic service through ECF if the
party accepts service in this manner) this July 24, 2017 to the following:

Sally Zeman                                          United States Bankruptcy Trustee
Chapter 13 Trustee                                   Byron G. Rogers Federal Building
PO Box 1169                                          1961 Stout Street, Suite 12-200
Denver, CO 80201                                     Denver, CO 80294-196


Merrick Bank                                         Citifinancial Servicing LLC
10705 South Jordan Gtwy # 200                        605 Munn Rd E
South Jordan, UT 84095                               C/S Care Dept
                                                     Fort Mill, SC 29715-8421
Adams County Clerk of Courts
Case #2016CV031178                                   CitiFinancial Servicing LLC
1100 Judicial Center Dr.                             PO Box 6043
Brighton, CO 80601                                   Sioux Falls, SD 57117-6043

Adams County Treasurer                               Colorado Department of Labor and
PO Box 869                                           Employm
Brighton, CO 80601                                   633 17th St., Ste. 201
                                                     Denver, CO 80202-3660
Applied Bank
2200 Concord Pike, Suite 102                         Colorado Department of Revenue
Wilmington, DE 19803                                 1375 Sherman Street, Room 504
                                                     Denver, CO 80261
Carson Smithfield LLC
PO Box 9216                                          Colorado Manager, Inc.
Old Bethpage, NY 11804                               80 Garden Center, Ste. 3
                                                     Broomfield, CO 80020
Carson Smithfield LLC
225 W. Station Sqaure Dr.                            CVI Loan GT Trust 1
Pittsburgh, PA 15219                                 c/o Machol & Johannes LLC
                                                     700 17th St. Ste. 300
Citifinancial                                        Denver, CO 80202-3502
Attn Bankruptcy Department
P.O. Box 6042                                        CVI Loan GT Trust I
Sioux Falls, SD 57117                                9320 Excelsior Blvd.
                                                     Minneapolis, MN 55434-3444
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Ditech Financial LLC                       Phillips & Cohen Associates Ltd.
c/o The Corporation Company                PO Box 5790
7700 E. Arapahoe Rd. Ste. 220              Hauppauge, PA 17788-0164
Englewood, CO 80112-1268
                                           Phillips & Cohen Associates, Ltd.
Ditech Financial, LLC                      Mail Stop 147
PO Box 6154                                1002 Justison Street
Rapid City, SD 57709-6154                  Wilmington, DE 19801-5148

First National Collection Bureau           Portfolio Recovery Associates, LLC
610 Waltham                                PO Box 41067
Sparks, NV 89434                           Norfolk, VA 23541-1067

GC Services Limited Partnership            Publisher's Clearing House
6330 Gulfton                               PO Box 6344
Houston, TX 77081                          Harlan, IA 51593-1844

Internal Revenue Service                   Publishers Clearing House
Centralized Insolvency Operation           Customer Service
P.O. Box 7346                              101 Winners Circle
Philadelphia, PA 19101-7346                Port Washington, NY 11050

JC Penney - Bankruptcy Department          QVC
GE Money Bank                              P.O. Box 2254
PO Box 965060                              West Chester, PA 19380
Orlando, FL 32896-5060
                                           Real Time Resolutions Inc.
LVNV Funding LLC                           c/o The Corporation Company
c/o Resurgent Capital Services             7700 E. Arapahoe Rd. Ste. 220
PO Box 10675                               Englewood, CO 80112-1268
Greenville, SC 29603-0675
                                           Real Time Resolutions, Inc
Medved Dale Decker & Deere, LLC            1349 Empire Central Drive, Suite #1
355 Union Boulevard, Ste. 250              Dallas, TX 75247-4029
Denver, CO 80228
                                           Seventh Avenue
Merrick Bank                               112 7th Ave.
Resurgent Capital Services                 Monroe, WI 53566-1364
P.O. Box 10368
Greenville, SC 29603-0368                  State of Colorado
                                           Division of Finance and Procurement
One Advantage, LLC                         Central Collection Service
7650 Magna Drive                           633 17th Street, Suite 1540
Belleville, IL 62223-3366                  Denver, CO 80202-3608
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Sunrise Credit Services, Inc.
PO Box 9100                                Synchrony Bank
Farmingdale, NY 11735-9100                 c/o PRA Receivables Management, LLC
                                           P.O. Box 41021
SYNCB/JC Penneys                           Norfolk, VA 23541
PO Box 965036
Orlando, FL 32896-5036                     Walmart Bankruptcy Department
                                           PO Box 965060
                                           Orlando, FL 32896-5060




/s/ Lacey K. Firehammer
Paralegal for Debtor’s Counsel
